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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.


 COLORADO, et al.,

                               Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.



             [PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED
                   THIRD MOTION TO CORRECT THE RECORD

       Plaintiff’s Unopposed Third Motion to Correct the Record is granted.

       The Court hereby orders that the trial record shall be corrected as indicated in the

Correction column in the table below. Transcription errors have been crossed through and the

corrected text, or text that was incorrectly omitted and should be added, has been underlined.


   Trial      Start    Start     End         End
                                                                     Correction
  Session     Page     Line      Page        Line
 09.15 AM      981       22      981         22     Q. Okay. Well, if we could look at UPX738
                                                    DX738, the top of the
 09.18 PM      1182      3       1182         3     Q. And as depicted on UPX12, in front of you
                                                    at .003 .004, there's
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 Trial      Start   Start   End    End
                                                                 Correction
Session     Page    Line    Page   Line
09.18 PM    1195     1      1195    1         on a cost per mill mille or cost per thousand
                                              basis; correct?
09.18 PM    1238     21     1238   21         Q. And you had a project NYX Myx?
09.18 PM    1238     24     1238   24         A. NYX Myx.
09.18 PM    1239     3      1239    3         Q. And you had a role in approving project
                                              NYX Myx?
09.18 PM    1239     5      1239    6         Q. And project NYX Myx – you and others at
                                              Google viewed project NYX Myx as important
                                              because Google wanted advertisers to have the
09.18 PM    1239     17     1239   17         Q. And project NYX Myx incorporated
                                              auction-time bidding only for
09.18 PM    1285     2      1285    2         Q. All right. Are you familiar with a company
                                              known as Sky Skai?
09.18 PM    1285     13     1285   13         Q. All right. And so Sky Skai is a significantly
                                              smaller company
09.18 PM    1285     22     1285   22         Q. All right. So Sky Skai was able to do this in
                                              2020, and here we
09.22 AM    2368     12     2368   12         Q. And you know what QVST QBST is, right?
09.26 AM    2428     7      2428    7         on Alabama’s Apple’s ability to expand beyond
                                              the way that they used
09.26 PM    2653     10     2653   10         basically if you have more traffic and no know
 (Public)                                     more, then your ads
09.26 PM    2665     21     2665   21         probably why if you look at companies like
 (Public)                                     Yandex, never Naver in
09.26 PM    2672     10     2672   11         users, and you need at least probably a million
 (Public)                                     people in each experiment to have stat
                                              statistically significant results coming out of it.
09.27 AM    2721     2      2721    2         LINE, but they were not successful in getting
                                              any searcher search share.
09.27 AM    2732     17     2732   19         MR. CAVANAUGH SMURZYNSKI: Allen, if
                                              you could show the next slide. BY MR.
                                              CAVANAUGH SMURZYNSKI:



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  Trial    Start   Start   End    End
                                                               Correction
 Session   Page    Line    Page   Line
09.27 AM   2734     2      2734    3         MR. CAVANAUGH SMURZYNSKI: Can I
                                             approach?
                                             BY MR. CAVANAUGH SMURZYNSKI:
09.27 AM   2767     3      2767    4         all the major search engines, including Naver,
                                             Yandex and Seznum Seznam and other even
                                             non-search engine companies that
09.28 AM   3085     4      3085    7         MR. SALLET: We agree. We so move it in,
                                             PSX671 PSX761. THE COURT: PSX761 will
                                             be admitted.
                                             (Plaintiffs' Exhibit PSX671 PSX761.
                                             received into evidence.)
09.28 PM   3272     24     3272   25         Is this an e-mail from a member of your team to
                                             Mr. Perika Perica and Mr. Smith at Apple in
                                             October 2016 2018?
09.29 AM   3422     7      3422    7         A. I don't, know, not personally.
10.03 AM   3861     12     3861   12         One is, brands sell through typically mobile
                                             multiple
10.03 AM   3876     11     3876   11         examination, IPG's counsel, John Schneider
                                             Snyder is in the
10.03 AM   3876     14     3876   14         how much of it I'm going to use. I've given Mr.
                                             Schneider Snyder
10.03 AM   3876     19     3876   19         hand you the transcript. And if Mr. Schneider
                                             Snyder has an
10.03 AM   3877     2      3877    2         THE COURT: Just so everybody knows, Mr.
                                             Schneider Snyder
10.03 PM   4031     17     4031   18         Q. The next sentence states: The higher the
                                             combination of bidding bid and quality, the
                                             higher the LTV score, i.e., the higher the
10.04 PM   4280     17     4280   21         And in tandem with that phenomena, there were
                                             some predicted click-through rate launches that
                                             were happening back in the day that were
                                             exasperating exacerbating some of the negative
                                             deficiencies of trying to use predictive predicted
                                             click-through rate as a quality signal.



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  Trial    Start   Start   End    End
                                                                Correction
 Session   Page    Line    Page   Line
10.10 PM   4983     20     4983   21         Q. And Mr. Croll was one of Apple's Google’s
                                             points of contact at that time at Apple?
10.18 PM   6474     19     6474   20         about, I believe, Mr. Cavanaugh's second
                                             witness, the Sky Skai witness, Mr. Vallez. I've
                                             just flagged one potential document
10.19 PM   6660     14     6660   15         A. No, but by the time we started dealing with
                                             Microsoft, I would say they were about halfway
                                             through launching the objectives.
10.25 AM   7039     9      7039    9         A. Yes, so this is common types of ads that
                                             aren’t are online
10.25 PM   7114     24     7114   24         otherwise have been. And when prices are
                                             higher, the band demand curve
10.26 PM   7418     20     7418   20         A. Google Search; Google’s GO Geo division
                                             which includes
10.27 AM   7548     23     7548   23         refers to the revenue Google gets from surfing
                                             selling search ads on the
10.27 AM   7549     7      7549    7         the Search team -- Search Ads team
                                             consistently meant met the OKR
10.27 AM   7593     17     7593   17         Q. Okay. If you could please turn to PSX0128
                                             PSX01218.
10.30 PM   7847     18     7847   22         So, if you look at the first -- the middle column,
                                             when we went down to the low mobile sample,
                                             the decrease we saw with the covert set was, as
                                             you can see, .113, plus or minus .117.
                                             Statistically significant insignificant. Looking at
                                             95 percent, you can't tell it's not zero. So, it
                                             could be no affect effect, right?
11.01 AM   8199     22     8199   23         A. I think, at the end of the day, we compete
                                             with other people who surface service
                                             information needs. Really, what a user has
11.02 AM   8472     23     8472   25         A. So Skechers, slide 71, is quite explicit. They
                                             go through a very similar analysis, but they say,
                                             let’s pull black back spend on the lower ROAS.
                                             And, again, a lot of these, if you look in




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  Trial     Start   Start   End     End
                                                                  Correction
 Session    Page    Line    Page    Line
11.07 AM    9210      13    9210    13         Q. And the – Google’s traffic travel vertical is
                                               highly
11.07 AM    9225      17    9225    17         continue to try to go grow direct traffic over
                                               time but in the
11.15 AM    10273     20    10273   21         THE WITNESS: It is, with the exception of
                                               such search advertising.

SO ORDERED.


Dated: February __, 2024                           ______________________________
                                                             Amit P. Mehta
                                                    United States District Court Judge




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